Case 1:20-cv-25022-KMM Document 29-5 Entered on FLSD Docket 01/25/2021 Page 1 of 3
 Case 1:20-cv-25022-KMM Document 29-5 Entered on FLSD Docket 01/25/2021 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-25022-JLK

                                                    PROOF OF SERVICE
                     (This section should not be/lied with the court unless required by Fed R. av. P. 4 (0)

           This summons for (name of individual and title, if any)      Bader Al-Asaker
was received by me on (date)                      01/21/2021

           11 I personally served the summons on the individual at (place)
                                                                                  On (date)                             : or

           CI I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                                 and mailed a copy to the individual's last known address; or

               T served the summons on (name of individual)           Andre M. Huner, Legal Associate / Intake                   .who is
            designated by law to accept service of process on behalf of (name of organization)             Margarita K. O'Donell, Esq.
           Counsel for Bader Al-Asaker                                            on (date)          01/21/2021         ; or

               I returned the summons unexecuted because                                                                              or

           ii Other (specyj,):




           My fees are $                           for travel and $                   for services, for a total of $           0.00


           I declare under penalty of perjury that this information is true.



 Date:          01/21/2021
                                                                                              Server's signature

                                                                                          Albert Safewright
                                                                                          Printed name and lide


                                                                        22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                              Server's address

 Additional information regarding attempted service, etc.:
  Served with Summons & Complaint:
  Copy of Summons & Complaint in Arabic
  Order: Authorizing Alternative Service
 Case 1:20-cv-25022-KMM Document 29-5 Entered on FLSD Docket 01/25/2021 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-JLK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed I?. Civ. P. 4 (0)

           This summons for (name of individual and title, if any)      Bader Al-Asaker
was received by me on (date)                      01/21/2021

           CI I personally served the summons on the individual at (place)
                                                                                  On (date)                                or

           n I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                                 and mailed a copy to the individual' s last known address; or

               I served the summons on (name qf individual)           Andre M. Huner, Legal Associate / Intake                      who is
            designated by law to accept service of process on behalf of (name ofoiganization)               William W. Taylor, III, Esq.
           Counsel for Bader Al-Asaker                                            on (date)           01/21/2021          ; or

           [7 I returned the summons unexecuted because                                                                                 .; or

               Other ('spec):




           My fees are $                           for travel and $                   for services, for a total of $             0.00


           I declare under penalty of perjury that this information is true.



 Date:          01/21/2021
                                                                                               Server's signature

                                                                                              Albert Safewright
                                                                                          Printed name and tide

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